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|N THE SUPERlOR COURT FOR THE STATE OF ALASKA

FlRST JUDlC|AL DlSTRlCT AT KETCH|KAN

CHELSEA CROWL,

Plaintiff,

PEACEHEALTH, WANDRA l\/llLES,

)

)

)

)

v. )
§

JANE DOE, and JOHN DOE, )
` )

)

Defendants. Case No. 1KE-17-233 C|

NOT|CE TO SUPER|OR COURT OF F|LING NOT|CE OF REMOVAL

PLEASE TAKE NOT|CE that on September 11, 2017, Defendant PeaceHea|th,
named as a Defendant in the complaint in this action, filed in the United States District
Court for the District of A|aska, at Anchorage, Alaska its notice of removal from state
court. A copy of that notice being filed concurrently in the United States District for the

District of A|aska is attached hereto.

 

 

PLEAsE TAKEFuRTHER NoTlcE that pursuant to zé'U.s.c§ tit4t§(d), théF
filing of said notice of removal in the United States District Court, together With a filing of
a copy of said notice With this court, effects the removal of this action and the above

captioned court may proceed no further, unless and until the case is remanded.

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/ EXHtHT--mélm_
Crowl v. PeaceHea/th, et al. Case No. 1KE-17-233 Cl

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DATED this [/ day of September, 2017, atAnchorage, Alaska.

 

DELANEY W|LES, |NC.

Attorneys for Defendant PeaceHea|th

WMM

Donna l\/l. l\/|eyers

CERT|F|CATE OF SERV|CE

This certifies that | am an
authorized agent of De|aney Wi|es, lnc.,
for service of papers pursua[l to Civi|
Rule 5, and that on this [/;l-day of
September, 2017, a copy of the
foregoing document Was served by mail
and email upon:

David W. Rosendin

Law Offices of David W. Rosendin
1289 Tongass Ave.

Ketchikan, AK 99901
davidrosendin@vahoo.com

Chester D. Gilmore

Cashion Gilmore LLC

1007 vv. 3rd Ave., ste. 301
Anchorage, AK 99501 , 1
chester@cashionqilmore.com

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Dru Lippert
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CroWl v. PeaceHea/th, et al.

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Case No. 1KE-17-233 C|
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